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                                                                           2023 Oct-23 PM 05:22
                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA, )
                          )
v.                        ) Case No. 2:23 cr-00311-LSC-GMB
                          )
JOHN WESTLEY ROGERS, JR., )
            Defendant.    )

   MOTION FOR PRODUCTION OF TRANSCRIPT OF COLLOQUY
    BETWEEN DEFENDANT AND THE COURT AT ARRAIGNMENT
   CONCERNING THE CONDITIONS OF THE DEFENDANT’S BOND

      COMES NOW, the defendant in the above-styled proceeding, JOHN

WESTLEY ROGERS, JR., by and through his undersigned counsel, and moves

this Honorable Court for a transcript of the colloquy between the Court and the

Defendant at the arraignment concerning the conditions of the Defendant’s bond.

As grounds for this motion, the Defendant submits the following:

      1. The Defendant appeared in front of this Honorable Court at the

arraignment on October 12, 2023. The Court orally instructed the Defendant

concerning the conditions of his bond.

      2. The Government has filed a motion to revoke the Defendant’s bond

alleging that the Defendant violated condition number five (5) of his bond.

Condition five (5) states the following:

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      “You must not contact, intimidate, or threaten any witness, victim, juror,

informant, criminal investigator, or officer of the court.”

      3. The Defendant respectfully requests a copy of the transcript from the

arraignment concerning the conditions of the bond. This transcript is necessary for

the Defendant to prepare a response to the Government’s motion.

      Respectfully submitted on this, the 23rd day of October, 2023.

                                                /s/ John C. Robbins
                                               John C. Robbins, ASB-5635-i70j
                                               Attorney for the Defendant
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                                               Birmingham, AL 35203
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                          CERTIFICATE OF SERVICE
      I hereby certify that I have served a copy of this motion upon the Office of
the United States Attorney by hand delivery and through the electronic filing
system of the Clerk of the District on the date and time affixed hereon.

                                                /s/ John C. Robbins
                                               John C. Robbins




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